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 5
     Attorney for Defendant
     JEREMY R. WARREN
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-15-189 GEB
                                                      )
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                                                      )
             Plaintiff,                               )       STIPULATION REGARDING
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                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
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                                                      )       [PROPOSED] FINDINGS AND ORDER
     JEREMY R. WARREN,                                )
13
                                                      )
                                                      )       Date: August 11, 2017
14           Defendant.                               )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E Burrell, Jr.
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                                                      )
                                                      )
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             The United States of America through its undersigned counsel, Michael M. Beckwith,
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     Assistant United States Attorney, together with counsel for defendant Jeremy Warren, John R.
20
     Manning, Esq., hereby stipulate the following:
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22        1. By previous order, this matter was set for status conference on July 7, 2017.

23        2. By this stipulation, the defendant now moves to continue the status conference until
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     August 11, 2017 and to exclude time between July 7, 2017 and August 11, 2017 under the Local
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     CodeT-4 (to allow defense counsel time to prepare). The parties agree and stipulate, and request
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     the Court find the following:
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28           a.    Counsel for the defendant was appointed on June 17, 2016.



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            b. The government has produced approximately 1,300 pages of discovery and 26 audio
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 2              files.

 3          c. Counsel for the defendant needs additional time to review the discovery, conduct
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                investigation, interview potential witnesses, and meet with the defendant.
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            d. Counsel for the defendant believes the failure to grant a continuance in this case
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                would deny defense counsel reasonable time necessary for effective preparation,

 8              taking into account the exercise of due diligence.
 9          e. The Government does not object to the continuance.
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            f. Based on the above-stated findings, the ends of justice served by granting the
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                requested continuance outweigh the best interests of the public and the defendant in a
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13              speedy trial within the original date prescribed by the Speedy Trial Act.

14          g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of July 7,
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                2017, to August 11, 2017, inclusive, is deemed excludable pursuant to 18 United
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                States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4
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19              because it results from a continuance granted by the Court at the defendant's request

20              on the basis of the Court’s finding that the ends of justice served by taking such
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                action outweigh the best interest of the public and the defendant in a speedy trial.
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        3. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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     Speedy Trial Act dictate that additional time periods are excludable from the period within which
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25   a trial must commence.

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        IT IS SO STIPULATED.
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 1
     Dated: July 6, 2017                                  /s/ John R. Manning
 2                                                        JOHN R. MANNING
                                                          Attorney for Defendant
 3                                                        Jeremy Warren
 4
     Dated: July 6, 2017                                  Phillip A. Talbert
 5                                                        United States Attorney

 6                                               by:      /s/ Michael M. Beckwith
 7
                                                          MICHAEL M. BECKWITH
                                                          Assistant U.S. Attorney
 8

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10
                                         ORDER
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                             IT IS SO FOUND AND ORDERED.
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                                    Dated: July 6, 2017
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